B        Case 3:06-cv-02020-B Document 19 Filed 06/28/07              Page 1 of 1 PageID 374


                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


    OLYMPUS CAPITAL KEB CARDS,                      §
    LTD., et al.,                                   §
                                                    §
           Plaintiffs,                              §
                                                    §
    v.                                              §   CIVIL ACTION NO. 3:06-CV-2020-B
                                                    §                ECF
    LONE STAR MANAGEMENT CO. IV,                    §
    LTD., et al.,                                   §
                                                    §
           Defendants.                              §

                                                ORDER

           Before the Court is Defendants’ Motion to Stay Discovery (doc. 18), filed February 5, 2007.

    The Court DENIES this motion, and the parties may proceed with discovery in this case.

           SO ORDERED.

           SIGNED June      28th , 2007




                                                _________________________________
                                                JANE J. BOYLE
                                                UNITED STATES DISTRICT JUDGE




                                                  -1-
